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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK


  AVIVA STAHL,

                                 Plaintiff,

          v.                                              No. 19-cv-4142

  FEDERAL BUREAU OF PRISONS, and
  DEPARTMENT OF JUSTICE,

                                 Defendants.



                           DECLARATION OF BETSY GINSBERG

 I, Betsy Ginsberg, do hereby declare and state as follows:

 1. I am an attorney admitted to practice in the Eastern District of New York.

 2. I am a Clinical Professor and Director of the Cardozo Civil Rights Clinic (the “Clinic”). at

    the Benjamin N. Cardozo School of Law, where I have been a full-time faculty member since

    2010.

 3. The Clinic represents the Plaintiff in this action, Aviva Stahl.

 4. Attached to this Declaration as Exhibit A is an email exchange between staff in the

    Correctional Programs Division [“CPD”] in the BOP Central Office and Government

    Information Specialist with the North Central Regional Office (“NCRO”) of the BOP, Erika

    Fenstermaker, from August 16-19, 2019 concerning the agency’s search for videos in this

    case. Defendants provided this document to me during the course of this litigation and have

    represented that it is a true and correct copy of the email exchange.

 5. Attached to this Declaration as Exhibit B is an August 19, 2019 email exchange between the

    Correctional Services Department of the NCRO and Mr. Fenstermaker also concerning the




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    agency’s search for videos in this case. Defendants provided this document to me during the

    course of this litigation and have represented that is a true and correct copy of the email

    exchange.

 6. Defendants did not submit these emails in support of their Motion for Summary Judgment

    and have informed me that they do not object to Plaintiff including them with her summary

    judgment submission.

 I hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true
 and correct.

 Executed this 10th day of February, 2020.



                                                                /s Betsy Ginsberg

                                                                  Betsy Ginsberg




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